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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    In re:                                              §
                                                        §     Case No. 22-33553 (CML)
    Alexander E. Jones,                                 §
                                                        §     Chapter 11
        Debtor.                                         §
                                                        §

                     STATEMENT OF THE TEXAS FAMILIES
             IN SUPPORT OF CONVERSION OF JONES’S CHAPTER 11
         CASE TO A CASE UNDER CHAPTER 7 OF THE BANKRUPTCY CODE


        The Texas Families,1 as creditors and parties in interest in the above-captioned case (the

“Jones Case”) proceeding under chapter 11 of the Bankruptcy Code, respectfully submit this

statement (the “Statement”) in support of conversion of the Jones Case, as requested by the

Debtor’s Emergency Motion for Entry of an Order Converting Debtor’s Chapter 11 Case to a

Case Under Chapter 7 of the Bankruptcy Code (the “Motion”). Upon the Court’s consideration

of the Motion, the Texas Families hereby request that any order approving the Motion be

substantially in the form of the order attached as Exhibit A (the “Proposed UCC Order”) to the

Statement of the Connecticut Families and the Official Committee of Unsecured Creditors (the

“UCC and Connecticut Families’ Statement”), filed at ECF 698, rather than the form attached to

the Motion, as the Proposed UCC Order provides additional protections for the benefit of the estate

and its creditors.




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 The “Texas Families” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the Estate of
Marcel Fontaine.

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                                          BACKGROUND

        1.      On June 5, 2024, the Debtor filed his Motion [ECF No. 684], seeking conversion

of this case to Chapter 7.

        2.      The Texas Families have reviewed and approved the order at ECF 698.

                                            STATEMENT

        3.      While the Texas Families firmly believe conversion is warranted and is in the best

interests of Jones’s estate and all creditors, by supporting the Proposed UCC Order, the Texas

Families request the inclusion of certain provisions that would ensure an efficient and orderly wind

down of Jones’s estate in a manner that ensures the preservation of valuable estate assets and

maximizes creditor recoveries because, in comparison with the proposed order filed by the Debtor

in conjunction with his Motion, the Proposed UCC Order provides additional protections designed

to (i) ensure the prompt election of a chapter 7 trustee to safeguard assets for the benefit of the

estate; (ii) facilitate a chapter 7 trustee’s ability to pursue estate claims and causes of action

efficiently and effectively; and (iii) clarify that certain assets constitute property of the estate.

                                               NOTICE

        4.      Notice of this Statement will be served via ECF.

                                   RESERVATION OF RIGHTS

        5.      For the avoidance of doubt, the Texas Families reserve their rights to amend or

supplement this Statement on any basis and reserve all rights and remedies with respect to the

Motion and otherwise in the Jones Case.

                                           CONCLUSION

        WHEREFORE, the Texas Families requests that this Court enter the Proposed UCC Order

converting the Jones Case to a case under chapter 7 and granting such other relief as may be

appropriate under the circumstances.

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Dated: June 12, 2024

Respectfully Submitted,

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 Co-Counsel to the Texas Plaintiffs



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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Statement has been served on
Jones’s counsel, Jones, and all parties receiving or entitled to notice through CM/ECF on this 12th
day of June, 2024.

                                                     /s/ Jarrod Martin
                                                     Jarrod Martin




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